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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

HUMANE CONSUMER LLC,                               Civil Action No. 18-cv-5622 (PKC)

      Plaintiff,
                                                      CORPORATE DISCLOSURE
v.                                                      STATEMENT BY COB
                                                      ECOMMERCE EMPIRE LLC
COB ECOMMERCE EMPIRE LLC d/b/a KEEVA
ORGANICS, et al.,

               Defendants.



       Pursuant to Federal Rule of Civil Procedure 7.1, Defendants COB ECOMMERCE

EMPIRE LLC d/b/a KEEVA ORGANICS and CHARLES CRAWFORD, state that CHARLES

CRAWFORD is the sole member COB ECOMMERCE EMPIRE LLC d/b/a KEEVA

ORGANICS and no publically held corporation owns more than a 10% membership interest in

COB ECOMMERCE EMPIRE LLC d/b/a KEEVA ORGANICS.

                                        RESPECTFULLY SUBMITTED,

Dated: September 24, 2018               /s/ Steven M. Richman/
                                        Steven M. Richman
                                        CLARK HILL PLC
                                        830 Third Avenue
                                        Suite 200
                                        New York , NY 10022
                                        Phone: (212) 709-8084

                                        210 Carnegie Center, Suite 102
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                                        Plaintiff COB Ecommerce Empire LLC




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                                CERTIFICATE OF SERVICE

        I, Steven M. Richman, of full age, certify that on September 24, 2018, I caused a copy of
this Disclosure Statement to be served via ECF on all counsel of record registered for electronic
service.

                                                    s/Steven M. Richman/




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